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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-239 MCE
12                                Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
                                                         STATUS CONFERENCE; ORDER
13                          v.
                                                         DATE: July 25, 2019
14   LORAINE DIXON,                                      TIME: 10:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
15                                Defendant.
16
17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:
20          1.      This matter is set for jury trial set to begin November 4, 2019. Time under the Speedy

21 Trial Act was previously excluded until the first day of trial under Local Code T4 for defense
22 preparation.
23          2.      At the request of the parties, the Court also previously set an interim status conference for

24 July 25, 2019.
25          3.      By this stipulation, the parties now move to continue that status conference from July 25,

26 2019, to August 8, 2019.
27          4.      The parties agree and stipulate that this continuance will provide both parties additional

28 time to prepare for that status conference and otherwise continue preparing for trial.

      STIPULATION AND ORDER REGARDING CONTINUANCE         1
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            Case 2:16-cr-00239-MCE Document 109 Filed 07/18/19 Page 2 of 2


 1        IT IS SO STIPULATED.

 2
 3
     Dated: July 11, 2019                                MCGREGOR W. SCOTT
 4                                                       United States Attorney
 5
                                                         /s/ MATTHEW M. YELOVICH
 6                                                       MATTHEW M. YELOVICH
                                                         Assistant United States Attorney
 7
 8
     Dated: July 11, 2019                                /s/ TIMOTHY E. WARRINER
 9                                                       TIMOTHY E. WARRINER
10                                                       Counsel for Defendant
                                                         LORAINE DIXON
11
12                                                 ORDER
13        IT IS SO ORDERED.
14 Dated: July 17, 2019
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     STIPULATION AND ORDER REGARDING CONTINUANCE     2
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